              Case 3:18-cr-00310-EMC Document 11 Filed 08/24/18 Page 1 of 4




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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12
1 3 UNITED STATES OF AMERICA,                         ) Case No. CR 18-0031 O EMC
                                                      )
14           Plaintiff,                               ) STIPULATION AND PROTECTIVE ORDER
                                                      ) [PROPOSED]
15      v.
16 LAWRENCE GERRANS,
17
18
     ________________
             Defendant.
                                                      )


19
             With the agreement of the parties, the Court enters the following Protective Order:
20
             Defendant is charged with wire fraud and money laundering. Upon receipt of a discovery
21
     request, the United States will produce documents and other materials pertaining to the defendant and
22
     the charged offenses to defense counsel. The discovery to be provided includes documents or other
23
     materials falling into one or more of the following categories (collectively, "Protected Information"):
24
             1. Personal Identifying Information of any individual (other than his or her name), including
25
                 without limitation any person's date of birth, social security number, residence or business
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                 address, telephone numbers, email addresses, driver's license number, professional license
27
                 number, family members names, or criminal histories ("Personal Identifying Information");
28
     PROTECTIVE ORDER
     CR 18-00310 EMC
              Case 3:18-cr-00310-EMC Document 11 Filed 08/24/18 Page 2 of 4




 1          2. Financial infonnation of any individual or business, including without limitation bank
 2              account numbers, credit or debit card numbers, account passwords, contact infonnation, and
 3              taxpayer identification numbers ("Financial Information"); and
 4          3. Medical records or other patient information of any individual covered by the Health
 5              Insurance Portability and Accountability Act of 1996 (HIPPA) ("Medical Infonnation").
 6          To ensure that Protected Information is not subject to unauthorized disclosure or misuse,
 7          IT IS HEREBY ORDERED that defense counsel of record, their investigators, assistants, and
 8 employees (collectively, ''the defense team") may review with the defendant all discovery material
 9 produced by the government, but shall not provide a defendant with copies of, or permit defendant to
10 make copies of, or have unsupervised access to, any discovery material produced by the government that
11   contains Protected Information, unless the Personal Identifying Information, Financial Infonnation,
12 and/or Medical Information has first been entirely redacted from the discovery materials. The
13   government and defense counsel are ordered to work together to ensure that these materials are
14 protected, but that defendant has as much access to the materials as can be provided consistent with this
15 Court's order. Discovery material that clearly pertains to a specific defendant and does not contain
16 Protected Infonnation regarding any other person (e.g., defendant's own bank records, telephone
17 records, and business records) may be provided to that defendant unredacted.
18          Defense counsel may also provide unredacted copies of Protected Information to any experts
19 retained to assist with the preparation of the defense in the captioned case. The defendant, all members
20 of the defense team, and any experts who receive discovery under this Order shall be provided a copy of
21   this Order along with those materials and shall initial and date the order reflecting their agreement to be
22 bound by it.
23          The materials provided pursuant to this protective order may only be used for the specific
24 purpose of preparing or presenting a defense in this matter unless specifically authorized by the Court.
25          This Order shall also apply to any copies made of any materials covered by this Order.
26          IT IS FURTHER ORDERED that neither a defendant nor any member of the defense team
27   shall provide any discovery material produced by the government-whether or not the material
28   constitutes or contains Protected Information within the meaning of this Order-to any third party (i.e.,
     PROTECTIVE ORDER
     CR 18-00310 EMC
                Case 3:18-cr-00310-EMC Document 11 Filed 08/24/18 Page 3 of 4




     any person who is not a member of the defense team) or make any public disclosure of the same, other
 2 than in a court filing, without the government's express written permission or further order of this Court.
 3 If a party files a pleading that references or contains or attaches Protected Infonnation subject to this
 4 Order, that filing must be under seal.1
 5          IT IS FURTHER ORDERED that defense counsel shall return materials subject to this
 6 Protective Order (including any copies) to the United States within 14 days after whichever event occurs
 7 last in time: dismissal of all charges against the defendant; defendant's acquittal; defendant's sentencing;
8 or the conclusion of any direct appeal. After the United States receives documents and materials subject
 9 to this Order, it shall maintain those documents and materials until the period for filing a motion under
10 28 U.S.C. § 2255 has expired. After the statutory period for filing a motion under 28 U.S.C. § 2255 has
11   expired, the United States is free to destroy docwnents and materials subject to this Order. If defendant
12 is represented by counsel and files a motion pursuant to 28 U.S.C. § 2255, the United States will provide
13 counsel with the documents and materials subject to this Protective Order under the terms of this Order.
14 Defendant's attorney in any motion under 28 U.S.C. § 2255 shall return the docwnents and materials
15 subject to this Protective Order within 14 days after the district court's ruling on the motion or 14 days
16 after the conclusion of any direct appeal of the district court's order denying the motion, whichever is
17 later. This stipulation is without prejudice to either party applying to the Court to modify the terms of
18 any protective order. This Court shall retain jurisdiction to modify this Order upon motion of either
19 party even after the conclusion of district court proceedings in this case.
20
21     IT IS SO STIPULATED.                                   ALEXG. TSE
                                                              United States Attorney
22
23
       Dated:
24
                                                              ROBIN HARRIS
25                                                            Assistant United States Attorney

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             1 This Order authorizes such filings under seal and the parties are not required to seek additional
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     authorization from the Court to do so.
     PROTECTIVE ORDER
     CR 18-003\0EMC
               Case 3:18-cr-00310-EMC Document 11 Filed 08/24/18 Page 4 of 4




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      IT IS SO ORDERED.


      Dated:                                    Honorable Edward M. Chen
                                                United States District Judge
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     PROTECTIVE ORDER
     CR 18-00310 EMC
